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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


 JEFFREY PAUL BARNARD,
           Plaintiff
                                                          CASE NO. 1:16-cv-00276-LEW
 v.

 TROY BIRES,
           Defendant


                                STIPULATION OF DISMISSAL

       NOW COME the above-named parties, by and through undersigned counsel, and hereby

stipulate that this action is dismissed, with prejudice and without costs to any party.



Dated: June 25, 2021                          /s/ Michael E. Carey
                                              Michael E. Carey
                                              Peter J. Brann


                                              Attorney for Plaintiff Jeffrey Paul Barnard
                                              Brann & Isaacson
                                              184 Main Street, 4th Floor
                                              Lewiston, ME 04243-3070
                                              (207) 786-3566
                                              mcarey@brannlaw.com
                                              pbrann@brannlaw.com


Dated: June 21, 2021                          /s/ Edward R. Benjamin, Jr.
                                              Edward R. Benjamin, Jr.
                                              Kasia S. Park

                                              Attorneys for Defendant Troy Bires
                                              Drummond Woodsum
                                              84 Marginal Way, Suite 600
                                              Portland, ME 04101
                                              (207) 772-1941
                                              ebenjamin@dwmlaw.com
                                              kpark@dwmlaw.com
